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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

INI WATSON,                                       )
                                                  )
         Plaintiff,                               )
                                                  )
vs.                                               )   Case No. 4:21-CV-1405 JAR
                                                  )
EQH SERVICE COMPANY, LLC,                         )
                                                  )
         Defendant.                               )
                                                  )

         DEFENDANT EQH SERVICE COMPANY, LLC’S MOTION TO DISIMISS
                     PLAINTIFF’S AMENDED COMPLAINT

         Comes Now Defendant, EQH Service Company, LLC, by and through its attorneys, Fox

Smith, LLC, and, pursuant to Federal Rule of Civil Procedure 12(b)(6), for its Motion to Dismiss

Plaintiff’s Amended Complaint, states as follows:

         1.      Plaintiff’s First Amended Complaint alleges Defendant failed to accommodate her

purported disability, asthma, pursuant to the Americans with Disabilities Act. Court Doc. 12, p. 12

at ¶8.

         2.      As currently stated in her First Amended Complaint and summarized below, Plaintiff

cannot sustain a claim for failure to accommodate under the Americans with Disabilities Act

(“ADA”).

         3.      To effectively plead a claim for failure to accommodate, Plaintiff must plead facts to

suggest a plausible claim of disability discrimination pursuant to the ADA. Bohner v. Union Pacific

Railroad Co., 2020 WL 5517575 at *2 (E.D. Mo. Sept. 14, 2020)(citing Kelleher v. Wal-Mart

Stores, Inc., 817 F.3d 624, 631 (8th Cir. 2016)).
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       4.      Plaintiff, however, cannot plead a plausible claim of discrimination under the ADA

because her asthma is not a disability and she did not, and has not, suffered an adverse employment

action. See, e.g., Owens v. General Motors Corp., 2005 WL 2172041 at *4 (E.D. Mo. Sept. 7,

2005); Donnelly v. St. John’s Mercy Medical Ctr., 365 F.Supp.2d 970, 975 (E.D. Mo. 2009).

       5.      Where, under the disability discrimination analysis, a plaintiff does not sufficiently

allege a disability or an adverse employment action, she cannot state a claim for failure to

accommodate. See, Johnson v. Robert McDonald Secretary Dept. of Veteran Affairs, 2016 WL

3997072 at *6 (E.D. Mo. July 26, 2016) (analyzing the Rehabilitation Act, which is “applicable and

interchangeable” with claims under the ADA); Russell v. Shop ‘N Save Warehouse Foods, Inc., 2010

WL 1462086 at *4 (E.D. Mo. Apr. 13, 2010).

       6.      Finally, even if Plaintiff could effectively plead sufficient allegations to pass the first

hurdle of establishing a prima facie case of discrimination, she cannot establish Defendant failed to

accommodate her or engage in the interactive good faith process to accommodate Plaintiff’s alleged

disability. See, e.g., Owens, 2005 WL 2172041 at *4 (plaintiff who is “regarded as” being disabled

is not entitled to reasonable accommodations); Whittington v. Tyson Foods, Inc., 2020 WL 7074185

at*10 (E.D. Mo. Nov. 2, 2020)

       7.      For the reasons set forth herein and in Defendant’s accompanying Memorandum in

Support of its Motion to Dismiss, incorporated herein by reference, Defendant respectfully requests

this Court dismiss Plaintiff’s First Amended Complaint, in its entirety.

       WHEREFORE, Defendant EQH Service Company, LLC, hereby respectfully requests this

Court dismiss Plaintiff’s First Amended Complaint with prejudice, and for such other relief this

Court deems just and proper.




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                                                  FOX SMITH, LLC



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                                                  ATTORNEYS FOR DEFENDANT
                                                  EQH SERVICE COMPANY, LLC


                                   CERTIFICATE OF SERVICE

        I hereby certify that on April 19, 2022, I electronically filed the foregoing with the Clerk of Court
using the CM/ECF system.

        The undersigned also hereby certifies that on April 19, 2022, a copy of the foregoing was
sent via U.S. Mail, postage prepaid, to Pro se Plaintiff:

Via U.S. Mail

Ini Watson
835 N. Park Lane
Florissant, MO 63031
Phone: (314) 853-2077

PLAINTIFF PRO SE



                                                          /s/ Margaret D. Gentzen




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